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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   John V. Feneck,                                    No. CV-23-01473-PHX-ROS
10                  Plaintiff,                          ORDER
11   v.
12   SBHU Life Agency Incorporated,
13                  Defendant.
14
15          Plaintiff John Feneck filed a First Amended Complaint (“FAC”) against Defendant
16   SBHU Life Agency Inc. alleging negligence, breach of contract, and breach of the implied

17   covenant of good faith and fair dealing in connection with a lapsed life insurance policy
18   (Doc. 26, “FAC”) after the Court dismissed Plaintiff’s original Complaint alleging the

19   same claims (Doc. 23). Defendant again seeks dismissal of Plaintiff’s claims on the same

20   bases as in its original motion to dismiss—that (1) Defendant had no duty to notify Plaintiff
21   of impending lapses in coverage and (2) Plaintiff failed to sufficiently allege the existence
22   of a contract between the parties. (Doc. 28, “Mot.”). Plaintiff responded (Doc. 31,

23   “Resp.”), and Defendant replied (Doc. 34, “Reply”). For the reasons set forth below,

24   Defendant’s motion is granted as to the negligence claim and denied as to the breach of

25   contract and breach of the implied covenant of good faith and fair dealing claims.

26                                      I.     BACKGROUND
27          In the previous Order dismissing the Complaint, set forth the factual background.
28   (Doc. 23). The facts in the FAC remain largely unaltered. Thus, where relevant, the Court
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 1   repeats those facts here.
 2          In February 2002, Plaintiff purchased a life insurance policy from Lincoln National
 3   Life Insurance Co. (“Lincoln”) through Christopher Zimpo (a former employee of
 4   Defendant) on the lives of his parents, providing for a $1 million death benefit to Plaintiff
 5   once both of his parents passed away. (FAC ¶¶ 5–7). Plaintiff’s father has passed away,
 6   but his mother is still alive. (Id. at ¶ 8). Zimpo left Defendant’s employment soon after
 7   Plaintiff purchased the policy. (Id. at ¶ 10).
 8          Plaintiff made timely quarterly payments on the policy until July 2021, paying
 9   approximately $122,364.18 in premiums over that time. (Id. at ¶ 12). Lincoln allegedly
10   mailed two notices to Plaintiff at his home address and to Defendant in June 2021 and July
11   2021 stating he had to pay $2,749.89 before August 23, 2021 to prevent the policy from
12   lapsing. (Id. at ¶¶ 14–15). Plaintiff alleges he did not receive these notices. Id. Rather,
13   Plaintiff allegedly made a regularly scheduled $2,500.00 payment toward the policy’s
14   premiums in late July 2021. (Id. at ¶ 16). Lincoln purportedly mailed a third notice to
15   Plaintiff and Defendant on August 2, 2021 informing Plaintiff his $2,500.00 payment was
16   less than the $2,749.89 required to keep the policy active and again informing Plaintiff of
17   the August 23, 2021 deadline required for full payment. (Id. at ¶ 17). Plaintiff alleges he
18   did not receive this notice until the “end of August 2021,” by which time the policy had
19   lapsed. (Id. at ¶¶ 18–19). After receiving the August 2, 2021 notice, Plaintiff attempted to
20   make the additional $249.89 payment, but Lincoln refused to accept it, telling Plaintiff he
21   could file for reinstatement.     (Id. at ¶¶ 20–21).   Plaintiff filed for reinstatement in
22   September 2021 and was denied in December 2021. (Id. at ¶¶ 24–25).
23                                   II.    MOTION TO DISMISS
24          A complaint must set forth a “short and plain statement of the claim showing that
25   the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “To survive a motion to dismiss,
26   a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to
27   relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
28   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citations omitted)). If “the


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 1   well-pleaded facts do not permit the court to infer more than the mere possibility of
 2   misconduct, the complaint” has not adequately shown the pleader is entitled to relief. Id.
 3   at 679. Although federal courts ruling on a motion to dismiss “must take all of the factual
 4   allegations in the complaint as true,” they “are not bound to accept as true a legal
 5   conclusion couched as a factual allegation.” Id. at 678 (quoting Twombly, 550 U.S. at 555)
 6   (internal quotations omitted).
 7          A. Negligence (Count I)
 8          Plaintiff has re-alleged a negligence claim (FAC ¶¶ 29–37) despite the Court not
 9   allowing him to do so. (Doc. 23 at 3–4). Again, as made clear four months ago: Plaintiff
10   has failed to establish Arizona law imposes any sort of continuing duty on an insurance
11   agent related to ensuring continuity of policies long after procurement. Plaintiff’s inclusion
12   of an additional factual allegation and reliance on the same unpersuasive legal authorities
13   does not change the outcome.
14          However, Plaintiff insists the Court “distinguish or address” an unpublished case
15   from the District of Idaho applying Idaho state law, Lynch v. N. Am. Co. for Life and Health
16   Ins., 2016 WL 3129107 (D. Idaho June 2, 2016). (Resp. at 7 n.1). His reliance on Lynch
17   is amiss. The Lynch court, on a motion to dismiss, found the negligence claim similar to
18   Plaintiff’s here adequate. Lynch, 2016 WL 3129107, at *2, *5. The allegation was that
19   that an insurance agent owes a duty to an insured beyond the initial procurement of the
20   policy. Id. But the facts in Lynch were notably different from those here. The Lynch court
21   relied on established Idaho law that supported the plaintiff’s claim to survive a motion to
22   dismiss.1 But there is no such favorable Arizona authority that would credit Plaintiff’s
23   claim here.2
24   1
       Lynch relied on an Idaho Supreme Court case, McAlvain v. Gen. Ins. Co. of Am., 554 P.2d
     955 (Idaho 1976), holding “there may be situations which arise when the insurance agent
25   undertakes additional duties, thereby becoming the agent of the insured because the agent
     agreed to undertake on the insured’s behalf a duty apart from and not required by its duties
26   owed to the insurer …. In such a case, the liability of the agent to the insured would be
     predicated on the general rule that an agent is liable to its principal for losses engendered
27   by its breach of duty.” Lynch, 2016 WL 3129107, at *3.
     2
       In their briefings, the parties discuss Darner Motor Sales, Inc. v. Universal Underwriters
28   Ins. Co., 140 Ariz. 383 (1984). The court stated, “[a]n insurance agent owes a duty to the
     insured to exercise reasonable care, skill and diligence in carrying out the agent’s duties in

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 1          Plaintiff also argues that a duty may arise from a special relationship rooted in
 2   contract. (Resp. at 8). However, Plaintiff has not alleged sufficient facts to claim a special
 3   relationship, nor would such facts be helpful. The Arizona Supreme Court has cautioned:
 4          A fact-specific analysis of the relationship between the parties is a
 5          problematic basis for determining if a duty of care exists. The issue of duty
            is not a factual matter; it is a legal matter to be determined before the case-
 6          specific facts are considered …. Accordingly, this Court has cautioned
 7          against narrowly defining duties of care in terms of the parties’ actions in
            particular cases.
 8
     Gipson v. Kasey, 150 P.3d 228, 232 (Ariz. 2007). Plaintiff has failed to show Arizona law
 9
     imposes a duty upon Defendant to notify Plaintiff of impending lapses in coverage when
10
     Plaintiff was notified by Lincoln. Defendant’s motion is granted as to Count I, and the
11
     negligence claim is dismissed with prejudice.
12
            B. Breach of Contract (Count II)
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            Plaintiff’s amended breach of contract claim passes muster under the federal notice
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     pleading requirements. The FAC alleges facts beyond a bare recitation of breach of
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     contract elements. It alleges the timing when the purported contract was created and its
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     material terms that gave rise to a breach. (FAC ¶ 39).
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            The Court takes the factual allegations as true and draws all reasonable inferences
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     in Plaintiff’s favor. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Notice pleading does
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     “not require a claimant to set out in detail the facts upon which he bases his claim. To the
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     contrary all the Rules require is ‘a short and plain statement of the claim’ that will give the
21
     defendant fair notice of what the plaintiff’s claim is and the grounds upon which it rests.”
22
     Conley v. Gibson, 355 U.S. 41, 47 (1957) (quoting Fed. R. Civ. P. 8(a)(2)). “Effective
23
     procuring insurance,” but did not contemplate any ongoing duties beyond procurement. Id.
24   at 397. As Plaintiff admits in his response, there are no Arizona cases that extend the duties
     of insurance agents beyond policy procurement. (Resp. at 7). Notably, the Darner court
25   cited to certain sections of 43 AM. JUR. 2D INSURANCE. Darner, 140 Ariz. 383 at 397.
     Section 150 states, “an agent that had procured the policy has no duty to notify the insured
26   of its impending expiration if the policy and notices were sent directly to the insured by the
     carrier and not through the agency.” 43 AM. JUR. 2D INSURANCE § 150. “Federal courts
27   sitting in diversity do not create state law …. [They] predict only what state courts might
     do when state law is unclear.” Crozier v. Wint, 736 F.3d 1134, 1138–39 (8th Cir. 2013)
28   (internal citations omitted). Therefore, when faced with the same question, an Arizona
     court would inevitably rely on Darner and the persuasive authority cited within it.

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 1   notice pleading should provide the defendant with a basis for assessing the initial strength
 2   of the plaintiff’s claim, for preserving relevant evidence, for identifying any related
 3   counter- or cross-claims, and for preparing an appropriate answer.” Qarbon.com Inc. v.
 4   eHelp Corp., 315 F. Supp. 2d 1046, 1051 (N.D. Cal. 2004).
 5          Plaintiff has provided Defendant enough information to apprise it of its claim,
 6   including the existence of a contract. Plaintiff alleges the parties formed a contract in
 7   February 2002 when Plaintiff purchased the Policy, wherein Defendant agreed to keep
 8   Plaintiff “apprised of significant changes or issues with his Policy,” and that Defendant
 9   breached the contract by “failing to notify” Plaintiff of the impending lapse on the Policy,
10   causing the Policy to lapse. (FAC ¶¶ 6, 9, 38–43). Though the FAC does not allege facts
11   with specificity, dismissing the breach of contract claim would impose a greater hurdle for
12   clearing the federal pleading standard than is required. “While [plaintiff’s] breach of
13   contract claim was not artfully plead, it was sufficiently pled under federal notice pleading
14   standards.” Remedi8, LLC v. All. Envtl. Group, LLC, 2024 WL 1829617, at *2 (C.D. Cal.
15   Feb. 5, 2024). Further, the Ninth Circuit permits pleading allegations on the basis of
16   information and belief, as Plaintiff has pled, when the information necessary to establish
17   the allegations are within the defendant’s control. Carolina Cas. Ins. Co. v. Team Equip.,
18   Inc., 741 F.3d 1082, 1087 (9th Cir. 2014). This is allowed out of “practical necessity.” Id.
19   (quoting 5 Charles Alan Wright et al., Federal Practice and Procedure: Federal Rules of
20   Civil Procedure § 1224 (3d ed., updated 2013). Defendant here would have the requisite
21   information to either substantiate or refute Plaintiff’s allegations.3 Thus, Defendant’s
22   motion as to Count II is denied.
23          C. Breach of Implied Covenant of Good Faith and Fair Dealing (Count III)
24          Because Plaintiff has sufficiently pled the existence of a valid contract, the claim
25   for breach of the implied covenant of good faith and fair dealing is also sufficient. “The
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     3
       Relatedly, Defendant argues Plaintiff’s allegations do not elucidate whether the alleged
27   breach is of a written, oral, or implied contract. (Reply at 11). However, the elements for
     stating a claim for breach of any type of contract are functionally the same. See generally
28   T&M Solar & Air Conditioning, Inc. v. Lennox Int’l Inc., 83 F. Supp. 3d 855, 872 (N.D.
     Cal. 2015).

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 1   law implies a covenant of good faith and fair dealing in every contract.” Rawlings v.
 2   Apodaca, 726 P.2d 565, 569 (Ariz. 1986). “The essence of that duty is that neither party
 3   will act to impair the right of the other to receive the benefits which flow from their
 4   agreement or contractual relationship.” Id. A breach of the implied covenant is not
 5   dependent on a breach of an express contractual term. Bike Fashion Corp. v. Kramer, 46
 6   P.3d 431, 434–35 (Ariz. Ct. App. 2002). The FAC alleges Defendant breached the implied
 7   covenant of good faith and fair dealing by “prevent[ing] [plaintiff] from receiving benefits
 8   to which he was entitled under the contract with [Defendant].” (FAC ¶ 46). Defendant’s
 9   motion as to Count III is denied.
10                                         *      *       *
11          Accordingly,
12          IT IS ORDERED Defendant’s Motion to Dismiss (Doc. 28) is GRANTED IN
13   PART and DENIED IN PART.                  Count I of the FAC is DISMISSED WITH
14   PREJUDICE.
15          Dated this 14th day of November, 2024.
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18                                                      Honorable Roslyn O. Silver
19                                                      Senior United States District Judge

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